496 F.2d 1190
    John Weston FRATUS, Jr., a/k/a John Weston Greene,Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.John Weston FRATUS, Jr., Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.
    Nos. 73-2291, 73-2293.
    United States Court of Appeals, Fifth Circuit.
    July 5, 1974.
    
      Charles O. Mitchell, Jr., Jacksonville, Fla.  (Court-appointed), R. Lee Utley, Jr., Jacksonville, Fla., for petitioner-appellant.
      John L. Briggs, U.S. Atty., Howard T. Synder, Robert S. Yerkes, Asst. U.S. Attys., Jacksonville, Fla., for respondent-appellee.
      Before BROWN, Chief Judge, and GODBOLD and SIMPSON, Circuit Judges.
    
    BY THE COURT:
    
      1
      It is made known to the court by the United States that according to the records of the National Crime Information Center the appellant is a fugitive on two unrelated and serious state criminal charges.  His appeal is therefore dismissed, United States v. Shelton, 482 F.2d 848 (CA5, 1973), without prejudice to reinstatement should appellant or his counsel show to the court that the information as to his present fugitive status is erroneous.
    
    